964 F.2d 166
    In re Bernard J. PETERS, Debtor.Bernard J. PETERS, Appellant,v.James A. HENNENHOEFFER, Appellee.
    No. 1345, Docket 92-5001.
    United States Court of Appeals,Second Circuit.
    Argued April 23, 1992.Decided May 18, 1992.
    
      Bernard J. Peters, appellant pro se.
      Richard L. Koral, White Plains, N.Y.  (Fink Weinberger P.C., of counsel), for appellee.
      Before OAKES, Chief Judge, KEARSE and WALKER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Bernard J. Peters, pro se, appeals from a judgment of the United States District Court for the Southern District of New York, Gerard L. Goettel, Judge, affirming a judgment of the United States Bankruptcy Court for the Southern District of New York, Howard Schwartzberg, Judge, which held that fees owed to attorney Hennenhoeffer for his representation of Peters' son were in the nature of support and thus nondischargeable debts within the meaning of 11 U.S.C. § 523(a)(5) (1988).   Substantially for the reasons set forth in Judge Goettel's opinion, 133 B.R. 291 (S.D.N.Y.1991), including his reliance on In re Spong, 661 F.2d 6, 9 (2d Cir.1981) ("An award of attorney's fees may be essential to a spouse's ability to sue or defend a matrimonial action and thus a necessary under the law.  ...  [D]ischargeability must be determined by the substance of the liability rather than its form."), we affirm.
    
    